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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                       Case No. 11-20312

GERELL MORGAN,

       Defendant.
                                                /

     ORDER DENYING DEFENDANT’S MOTION TO POSTPONE SURRENDER

       Defendant Morgan, having been sentenced on August 22, 2012, to serve a term

of imprisonment of 86 months, moves to postpone the surrender date presently set for

December 4, 2012. He argues that he has presented no problems to the Pretrial

Services Department, and this appears to be true. He says that he wishes to spend

more time, including the Christmas holiday season, with his family, and this is

understandable.

       A defendant’s family ties are inevitably strained by imprisonment. Separation

from society implies an inability to participate in countless other activities as well, a

natural component of the penalty represented by imprisonment. Defendant has already

enjoyed an inordinate reporting delay of more than three months since the date of

sentencing, and no more is needed. Defendant will likely miss either six or seven

Christmas holiday seasons during imprisonment. If freedom during the current season

were afforded him by the court’s order now, there would very likely be a season near
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the end of his imprisonment during which he will concomitantly remain incarcerated.

Accordingly,

         IT IS ORDERED that the motion to postpone surrender [Dkt. # 65] is DENIED.


                                                           s/Robert H. Cleland
                                                          ROBERT H. CLELAND
                                                          UNITED STATES DISTRICT JUDGE

Dated: November 30, 2012

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, November 30, 2012, by electronic and/or ordinary mail.

                                                           s/Lisa Wagner
                                                          Case Manager and Deputy Clerk
                                                          (313) 234-5522




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